PAUL PARSHALL, Individually and On              )
Behalf of All Others Similarly Situated,        )
                                                )
                      Plaintiff,                )
                                                )   Case No. 17-CV-1209
       v.                                       )
                                                )   JURY TRIAL DEMANDED
BANK MUTUAL CORPORATION,                        )
MICHAEL T. CROWLEY, JR., DAVID C.               )   CLASS ACTION
BOERKE, RICHARD A. BROWN,                       )
THOMAS H. BUESTRIN, MARK C. HERR,               )
LISA A. MAUER, WILLIAM J. MIELKE,               )
ROBERT B. OLSON, MICHAEL I. SHAFIR,             )
DAVID A. BAUMGARTEN, and                        )
ASSOCIATED BANC-CORP,                           )
                                                )
                      Defendants.               )
                                                )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for his complaint against defendants, alleges as

follows:

                                   NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on July 20, 2017 (the

“Proposed Transaction”), pursuant to which Bank Mutual Corporation (“Bank Mutual” or the

“Company”) will be acquired by Associated Banc-Corp. (“Associated”).

       2.      On July 20, 2017, Bank Mutual’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

Agreement”) with Associated. Pursuant to the terms of the Merger Agreement, Bank Mutual’s

stockholders will receive 0.422 shares of Associated common stock for each share of Bank

Mutual common stock.


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       3.      On August 21, 2017, defendants filed a Form S-4 Registration Statement (the

“Registration Statement”) with the United States Securities and Exchange Commission (“SEC”)

in connection with the Proposed Transaction.

       4.      The Registration Statement omits material information with respect to the

Proposed Transaction, which renders the Registration Statement false and misleading.

Accordingly, plaintiff alleges herein that defendants violated Sections 14(a) and 20(a) of the

Securities Exchange Act of 1934 (the “1934 Act”) in connection with the Registration Statement.

                                 JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

1934 Act and Rule 14a-9.

       6.      This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.      Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.      Plaintiff, Paul Parshall, is, and has been continuously throughout all times

relevant hereto, the owner of Bank Mutual common stock; he resides at 2031 Imperial Golf

Course Blvd, Naples, Florida 34110. See Certification of Plaintiff attached hereto.

       9.      Defendant Bank Mutual is a Wisconsin corporation with its principal offices at

4949 West Brown Deer Road, Milwaukee, Wisconsin 53223; its registered agent for service of



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process is Michael T. Crowley, Jr., 4949 West Brown Deer Road, Brown Deer, Wisconsin

53223. Bank Mutual’s common stock is traded on the NasdasGS under the ticker symbol

“BKMU.”

      10.    Defendant Michael T. Crowley, Jr. (“Crowley”) served as Chairman of the Board

and a director of the Company as of March 6, 2017 according to the Form 10-K filed by the

Company with the SEC on March 6, 2017; his address is 4949 West Brown Deer Road,

Milwaukee, Wisconsin 53223.

      11.    Defendant David C. Boerke (“Boerke”) served as a director of the Company as of

March 6, 2017 according to the Form 10-K filed by the Company with the SEC on March 6,

2017; his address is 4949 West Brown Deer Road, Milwaukee, Wisconsin 53223.

      12.    Defendant Richard A. Brown (“Brown”) served as a director of the Company as

of March 6, 2017 according to the Form 10-K filed by the Company with the SEC on March 6,

2017; his address is 4949 West Brown Deer Road, Milwaukee, Wisconsin 53223.

      13.    Defendant Thomas H. Buestrin (“Buestrin”) served as a director of the Company

as of March 6, 2017 according to the Form 10-K filed by the Company with the SEC on March

6, 2017; his address is 4949 West Brown Deer Road, Milwaukee, Wisconsin 53223.

      14.    Defendant Mark C. Herr (“Herr”) served as a director of the Company as of

March 6, 2017 according to the Form 10-K filed by the Company with the SEC on March 6,

2017; his address is 4949 West Brown Deer Road, Milwaukee, Wisconsin 53223.

      15.    Defendant Lisa A. Mauer (“Mauer”) served as a director of the Company as of

March 6, 2017 according to the Form 10-K filed by the Company with the SEC on March 6,

2017; his address is 4949 West Brown Deer Road, Milwaukee, Wisconsin 53223.

      16.    Defendant William J. Mielke (“Mielke”) served as a director of the Company as



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of March 6, 2017 according to the Form 10-K filed by the Company with the SEC on March 6,

2017; his address is 4949 West Brown Deer Road, Milwaukee, Wisconsin 53223.

       17.     Defendant Robert B. Olson (“Olson”) served as a director of the Company as of

March 6, 2017 according to the Form 10-K filed by the Company with the SEC on March 6,

2017; his address is 4949 West Brown Deer Road, Milwaukee, Wisconsin 53223.

       18.     Defendant Michael I. Shafir (“Shafir”) served as a director of the Company as of

March 6, 2017 according to the Form 10-K filed by the Company with the SEC on March 6,

2017; his address is 4949 West Brown Deer Road, Milwaukee, Wisconsin 53223.

       19.     Defendant David A. Baumgarten (“Baumgarten”) is President and Chief

Executive Officer (“CEO”) of Bank Mutual; his address is 4949 West Brown Deer Road,

Milwaukee, Wisconsin 53223.

       20.     Defendant Associated Banc-Corp is a Wisconsin corporation with its principal

offices at 433 Main Street, Green Bay, Wisconsin 54301; its registered agent for service of

process is CT Corporation System 301 S. Bedford Street, Suite 1, Madison, Wisconsin 53703.

       21.     The defendants identified in paragraphs 10 through 19 are collectively referred to

herein as the “Individual Defendants.”

                              CLASS ACTION ALLEGATIONS

       22.     Plaintiff brings this action as a class action on behalf of himself and the other

public stockholders of Bank Mutual (the “Class”). Excluded from the Class are defendants

herein and any person, firm, trust, corporation, or other entity related to or affiliated with any

defendant.

       23.     This action is properly maintainable as a class action.

       24.     The Class is so numerous that joinder of all members is impracticable. As of July



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20, 2017, there were approximately 45,932,253 shares of Bank Mutual common stock

outstanding, held by hundreds, if not thousands, of individuals and entities scattered throughout

the country.

        25.     Questions of law and fact are common to the Class, including, among others: (i)

whether defendants have violated the 1934 Act; and (ii) whether defendants will irreparably

harm plaintiff and the other members of the Class if defendants’ conduct complained of herein

continues.

        26.     Plaintiff is committed to prosecuting this action and has retained competent

counsel experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the

other members of the Class and plaintiff has the same interests as the other members of the

Class. Accordingly, plaintiff is an adequate representative of the Class and will fairly and

adequately protect the interests of the Class.

        27.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible

standards of conduct for defendants, or adjudications that would, as a practical matter, be

dispositive of the interests of individual members of the Class who are not parties to the

adjudications or would substantially impair or impede those non-party Class members’ ability to

protect their interests.

        28.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.




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                              SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

       29.    Bank Mutual is the third largest financial institution holding company

headquartered in Wisconsin based on total assets.

       30.    The Company’s subsidiary bank operates banking locations in Wisconsin and

Minnesota.

       31.    On July 20, 2017, the Company issued a press release wherein it reported its

second quarter 2017 financial results. The Company reported net income of $4.2 million in the

second quarter of 2017 compared to $3.9 million in the same quarter of last year. Additionally,

Bank Mutual’s net interest income increased by $1.5 million, or 8.7%, and $2.4 million, or 6.9%,

during the three- and six-month periods ended June 30, 2017, respectively, compared to the same

periods in 2016.   With respect to the financial results, Individual Defendant Baumgarten

commented, “We are pleased with the continued improvement in our net interest income, which

was led by a combination of loan growth and modest expansion of our net interest margin.”

Baumgarten added, “We are particularly gratified with the growth in our commercial and

industrial loan portfolio, which has increased by 8.1% so far in 2017 and is up over 12% over the

past twelve months.”

       32.    Nevertheless, the very same day, the Individual Defendants caused the Company

to enter into the Merger Agreement, pursuant to which the Company will be acquired by

Associated.

       33.    The Individual Defendants have all but ensured that another entity will not

emerge with a competing proposal by agreeing to a “no solicitation” provision in the Merger

Agreement that prohibits the Individual Defendants from soliciting alternative proposals and

severely constrains their ability to communicate and negotiate with potential buyers who wish to

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submit or have submitted unsolicited alternative proposals.

       34.     Further, the Company must promptly advise Associated of any proposals or

inquiries received from other parties.

       35.     Moreover, the Merger Agreement contains a highly restrictive “fiduciary out”

provision permitting the Board to withdraw its approval of the Proposed Transaction under

extremely limited circumstances, and grants Associated a “matching right” with respect to any

“Superior Proposal” made to the Company.

       36.     Further locking up control of the Company in favor of Associated, the Merger

Agreement provides for a “termination fee” of $17 million payable by the Company to

Associated if the Individual Defendants cause the Company to terminate the Merger Agreement.

       37.     By agreeing to all of the deal protection devices, the Individual Defendants have

locked up the Proposed Transaction and have precluded other bidders from making successful

competing offers for the Company.

       38.     Additionally, the Individual Defendants have entered into a voting and support

agreement with Bank Mutual and Associated, pursuant to which they have agreed to vote their

Company shares in favor of the Proposed Transaction. Accordingly, such shares are already

locked up in favor of the merger.

       39.     The consideration to be provided to plaintiff and the Class in the Proposed

Transaction is inadequate.

       40.     Among other things, the intrinsic value of the Company is materially in excess of

the amount offered in the Proposed Transaction.

       41.     The merger consideration also fails to adequately compensate the Company’s

stockholders for the synergies that will result from the merger.



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       42.     Accordingly, the Proposed Transaction will deny Class members their right to

share proportionately and equitably in the true value of the Company’s valuable and profitable

business, and future growth in profits and earnings.

       43.     Meanwhile, at least certain of the Company’s officers and directors stand to

receive significant benefits as a result of the Proposed Transaction.

       44.     For example, Associated will retain Individual Defendant Baumgarten as a

consultant following the close of the merger.

       45.     Moreover, Individual Defendant Crowley will be appointed to the board of

directors of Associated.

       46.     Additionally, executive officer Terri M. Pfarr will retain her employment position

until at least the end of 2018.

The Registration Statement Omits Material Information, Rendering It False and Misleading

       47.     Defendants filed the Registration Statement with the SEC in connection with the

Proposed Transaction.

       48.     The Registration Statement omits material information with respect to the

Proposed Transaction, which renders the Registration Statement false and misleading.

       49.     First, the Registration Statement omits material information regarding Bank

Mutual’s financial projections, Associated’s financial projections, and the analyses performed by

the Company’s financial advisor, RBC Capital Markets, LLC (“RBCCM”).

       50.     For example, with respect to Bank Mutual’s financial projections, while the

Registration Statement provides Bank Mutual’s estimated earnings per share (“EPS”) and total

assets for certain years, the Registration Statement fails to disclose: EPS and total assets for

years 2020 through 2022; dividends; loans; total deposits; book value; total equity; return on



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average assets; return on average equity; and cash flow and its constituent line items.

       51.     Similarly, with respect to Associated’s financial projections, while the

Registration Statement provides Associated’s estimated EPS and total assets for certain years,

the Registration Statement fails to disclose: EPS and total assets for years 2019 through 2022;

dividends; loans; total deposits; book value; total equity; return on average assets; return on

average equity; and cash flow and its constituent line items.

       52.     With respect to RBCCM’s Dividend Discount Analysis of Bank Mutual, the

Registration Statement fails to disclose: (i) the after-tax free cash flows of Bank Mutual used by

RBCCM in the analysis and the constituent line items; (ii) the terminal value of the Company;

and (iii) the inputs and assumptions underlying the discount rates ranging from 10.0% to 13.0%.

       53.     With respect to RBCCM’s Dividend Discount Analysis of Associated, the

Registration Statement fails to disclose: (i) the after-tax free cash flows of Associated used by

RBCCM in the analysis and the constituent line items; (ii) the terminal value of Associated; and

(iii) the inputs and assumptions underlying the discount rates ranging from 10.0% to 13.0%.

       54.     With respect to RBCCM’s selected companies analyses, the Registration

Statement fails to disclose the individual multiples and financial metrics for the companies

observed by RBCCM in the analyses.

       55.     With respect to RBCCM’s Selected Transactions Analysis, the Registration

Statement fails to disclose the individual multiples and financial metrics for the transactions

observed by RBCCM in the analysis.

       56.     The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial



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advisor in support of its fairness opinion. Moreover, when a banker’s endorsement of the

fairness of a transaction is touted to shareholders, the valuation methods used to arrive at that

opinion as well as the key inputs and range of ultimate values generated by those analyses must

also be fairly disclosed.

       57.     The omission of this material information renders the Registration Statement false

and misleading, including, inter alia, the following sections of the Registration Statement: (i)

“Background of the Merger”; (ii) “Bank Mutual’s Reasons for the Merger; Recommendation of

the Bank Mutual Board of Directors”; (iii) “Opinion of Bank Mutual’s Financial Advisor”; and

(iv) “Certain Associated and Bank Mutual Unaudited Prospective Financial Information.”

       58.     Second, the Registration Statement omits material information with respect to

potential conflicts of interest of RBCCM.

       59.     For example, the Registration Statement fails to disclose RBCCM’s specific basis

for “anticipat[ing] that it may be selected by Associated to provide investment banking and

financial advisory and/or financing services that may be required by Associated in the future.”

       60.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

       61.     The omission of this material information renders the Registration Statement false

and misleading, including, inter alia, the following sections of the Registration Statement: (i)

“Background of the Merger”; (ii) “Bank Mutual’s Reasons for the Merger; Recommendation of

the Bank Mutual Board of Directors”; and (iii) “Opinion of Bank Mutual’s Financial Advisor.”

       62.     Third, the Registration Statement omits material information regarding potential

conflicts of interest of the Company’s officers and directors.



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       63.     Specifically, the Registration Statement fails to disclose the timing and nature of

all communications regarding future employment and directorship of Bank Mutual’s officers and

directors, including who participated in all such communications.

       64.     Communications regarding post-transaction employment during the negotiation of

the underlying transaction must be disclosed to stockholders. This information is necessary for

stockholders to understand potential conflicts of interest of management and the Board, as that

information provides illumination concerning motivations that would prevent fiduciaries from

acting solely in the best interests of the Company’s stockholders.

       65.     The omission of this material information renders the Registration Statement false

and misleading, including, inter alia, the following sections of the Registration Statement: (i)

“Background of the Merger”; (ii) “Bank Mutual’s Reasons for the Merger; Recommendation of

the Bank Mutual Board of Directors”; (iii) “Post-Merger Arrangements with Certain Executive

Officers”; and (iv) “Board Seats.”

       66.     Fourth, the Registration Statement fails to disclose whether any nondisclosure

agreements executed by Bank Mutual and prospective bidders contained standstill and/or “don’t

ask, don’t waive” provisions that are or were preventing those counterparties from submitting

superior offers to acquire the Company.

       67.     Without this information, stockholders may have the mistaken belief that, if these

potentially interested parties wished to come forward with a superior offer, they are or were

permitted to do so, when in fact they are or were contractually prohibited from doing so.

       68.     The omission of this material information renders the Registration Statement false

and misleading, including, inter alia, the following sections of the Registration Statement: (i)

“Background of the Merger”; and (ii) “Bank Mutual’s Reasons for the Merger; Recommendation



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of the Bank Mutual Board of Directors.”

        69.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to Bank Mutual’s stockholders.

                                               COUNT I

      Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
             Thereunder Against the Individual Defendants and Bank Mutual

        70.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

        71.     The Individual Defendants disseminated the false and misleading Registration

Statement, which contained statements that, in violation of Section 14(a) of the 1934 Act and

Rule 14a-9, in light of the circumstances under which they were made, omitted to state material

facts necessary to make the statements therein not materially false or misleading. Bank Mutual

is liable as the issuer of these statements.

        72.     The Registration Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants.      By virtue of their positions within the Company, the Individual

Defendants were aware of this information and their duty to disclose this information in the

Registration Statement.

        73.     The Individual Defendants were at least negligent in filing the Registration

Statement with these materially false and misleading statements.

        74.     The omissions and false and misleading statements in the Registration Statement

are material in that a reasonable stockholder will consider them important in deciding how to

vote on the Proposed Transaction. In addition, a reasonable investor will view a full and

accurate disclosure as significantly altering the total mix of information made available in the

Registration Statement and in other information reasonably available to stockholders.

        75.     The Registration Statement is an essential link in causing plaintiff and the


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Company’s stockholders to approve the Proposed Transaction.

       76.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       77.     Because of the false and misleading statements in the Registration Statement,

plaintiff and the Class are threatened with irreparable harm.

                                            COUNT II

                     Claim for Violation of Section 20(a) of the 1934 Act
                     Against the Individual Defendants and Associated

       78.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       79.     The Individual Defendants and Associated acted as controlling persons of Bank

Mutual within the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their

positions as officers and/or directors of Bank Mutual and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the

Registration Statement, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that plaintiff contends are false and misleading.

       80.     Each of the Individual Defendants and Associated was provided with or had

unlimited access to copies of the Registration Statement alleged by plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the

issuance of the statements or cause them to be corrected.

       81.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control and influence the particular transactions giving rise to the violations as

alleged herein, and exercised the same. The Registration Statement contains the unanimous


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recommendation of the Individual Defendants to approve the Proposed Transaction. They were

thus directly in the making of the Registration Statement.

       82.     Associated also had direct supervisory control over the composition of the

Registration Statement and the information disclosed therein, as well as the information that was

omitted and/or misrepresented in the Registration Statement.

       83.     By virtue of the foregoing, the Individual Defendants and Associated violated

Section 20(a) of the 1934 Act.

       84.     As set forth above, the Individual Defendants and Associated had the ability to

exercise control over and did control a person or persons who have each violated Section 14(a)

of the 1934 Act and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934

Act.   As a direct and proximate result of defendants’ conduct, plaintiff and the Class are

threatened with irreparable harm.

                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Registration Statement that

does not contain any untrue statements of material fact and that states all material facts required

in it or necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as



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well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff hereby requests a trial by jury on all issues so triable.

Dated: September 6, 2017                           CABANISS LAW


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